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 2
                                 UNITED STATES DISTRICT COURT
 3                           WESTERN DISTRICT OF PENNSYLVANIA
 4
 5   NINGBO BONNY E-HOME CO.,                    Case No. 2:24-cv-00568
     LTD.
 6
 7
                      Plaintiff,
 8
 9   v.

10   ONDWAY, POOLCLEAN US
11   STORE, USA WAREHOUSE,
     BOWANJIE, INPOOL US STORE,
12   DEWFOND, DIGIGER,
13   MOTOBUDDY STORE, and et al.
     Individual, Partnerships
14                     Defendants.
15
16
                                    (PROPOSED) ORDER
17
18
19        Plaintiff’s REVISED MOTION FOR AN ORDER AUTHORIZING ALTERNATIVE

20        SERVICE PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4 (f) (3) is

21        hereby granted, and service of the Summons, the Complaint, discovery, and future

22        filings in this matter upon each Defendant in this action via e-mail to Defendants email

23        accounts as listed and shown in Attachment A and also by publication at the designated

24        website www.raychaniplaw.com.

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